     Case 1:18-cv-01388-TSC-MAU Document 204 Filed 01/30/23 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
________________________________________
AFGHAN AND IRAQI ALLIES UNDER            )
SERIOUS THREAT BECAUSE OF THEIR          )
FAITHFUL SERVICE TO THE UNITED           )
STATES, ON THEIR OWN AND ON BEHALF )
OF OTHERS SIMILARLY SITUATED,            )
                                         )
            Plaintiffs,                  )
                                         ) Civil Action No. 1:18-cv-01388-TSC-MAU
      v.                                 )
                                         )
ANTONY BLINKEN, et al.,                  )
                                         )
            Defendants.                  )
________________________________________ )

                                  NOTICE OF APPEAL

       Defendants hereby appeal to the United States Court of Appeals for the District of

Columbia Circuit from this Court’s Memorandum Opinion of November 30, 2022 (ECF No.

190), Order of November 30, 2022 (ECF No. 191), and Minute Order of Referral to Magistrate

Judge of December 1, 2022.1




1
 This order reads:
       MINUTE ORDER OF REFERRAL TO MAGISTRATE JUDGE: As set forth in the
       [190] Memorandum and Opinion, at 11-13, the Court has determined that this action
       should be referred to a Magistrate Judge for the development of a new adjudication plan
       and limited discovery related to that plan. Accordingly, it is hereby ORDERED that this
       matter is referred to a Magistrate Judge for those purposes, beginning immediately. The
       Magistrate Judge will be randomly assigned by the Clerk’s Office, and it is FURTHER
       ORDERED that any future filings related to this matter shall have the initials of the
       presiding judge and the Magistrate Judge following the case number in the caption.
       Signed by Judge Tanya S. Chutkan on 12/1/2022.
Minute Order of Dec. 1, 2022.
   Case 1:18-cv-01388-TSC-MAU Document 204 Filed 01/30/23 Page 2 of 2




Dated: January 30, 2023              Respectfully submitted,

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